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FILED
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

 

ALEXANDRIA DIVISION ot) WAR 23. 2:02
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Plaintiff, )
v. Civil Action No: VI1CV 247
Huawei Technologies, Co., Ltd., LmMAB / TOR
Defendant.

 

DEFENDANT’S NOTICE OF REMOVAL

TO: THE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE EASTERN
DISTRICT OF VIRGINIA, ALEXANDRIA DIVISION

Defendant, Huawei Technologies, Co., Ltd. (hereinafter, Defendant or “Huawei”),’ by
counsel, hereby files its Notice of Removal of this action from the Fairfax County Circuit Court,
to the United States District Court for the Eastern District of Virginia, Alexandria Division.

The removal is based upon the following grounds:

1. On February 1, 2011, Plaintiff filed an action against Defendant in the Fairfax
County Circuit Court, entitled Greg Stanton v. Huawei Technologies, Co., Lid, as Cause
Number 2011-01425. A copy of the Complaint in this action is attached hereto and marked as
Exhibit “1”. Subsequent filings are attached hereto and marked as Exhibit “2”.

2. On March 2, 2011, the Clerk of the Virginia State Corporation Commission was

served with process concerning this lawsuit. The Clerk of the Virginia State Corporation

 

' Plaintiff named Huawei Technologies, Co., Ltd., as the Defendant in this matter, however, this was
improper as Huawei Technologies, Co., Ltd., was not the employer of Plaintiff. Rather, Futurewei
Technologies, Inc. d/b/a Huawei Technologies (USA) was Plaintiff's employer during the time frame
relevant to the allegations contained in the Complaint. Accordingly, Futurewei Technologies, Inc. d/b/a
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Commission notified Defendant of the aforementioned service of process on or about March 4,
2011.

3. This removal is timely filed pursuant to 42 U.S.C. § 1446(b).

4, Fairfax County is located in the Alexandria Division of the U.S. District Court for
the Eastern District of Virginia. Therefore, pursuant to 42 U.S.C. § 1441(a), this Court is the
appropriate forum to entertain this notice of removal.

5. In his Complaint, Plaintiff alleges violations of the Colorado R.S.A. § 8-4-109.
Plaintiff also alleges a claim of unjust enrichment/quantum meruit.

6. This Court has original jurisdiction over this matter pursuant to 28 U.S.C. §1332
because the amount in controversy exceeds $75,000, exclusive of interests or costs, and it is
between citizens of different states. On information and belief, Plaintiff is a citizen and resident

of Colorado, residing at 10238 Dan Court, Littleton, CO 80130.

7. Futurewei Technologies, Inc. d/b/a Huawei Technologies (USA), the proper
Defendant in this case, is a Texas corporation with its principal place of business in Plano,
Texas. Moreover, the presently but improperly named Defendant, Huawei Technologies, Co., Ltd,

was formed under the laws of the People’s Republic of China, and is based in Shenzhen, China,

8. Plaintiff alleges he is entitled to recover compensatory damages, punitive

damages and attorney’s fees, in the amount of at least $1,141,250.00.

9. To the extent any of Plaintiff's claims are governed by state law, this Court has

supplemental jurisdiction over those claims pursuant to 42 U.S.C. § 1367 because such claims

 

Huawei Technologies (USA) should be substituted as the Defendant in this case and Huawei
Technologies, Co., Ltd., should be dismissed.
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are so related to claims in the action within the Court’s original jurisdiction that they form part of
the case or controversy under Article III of the United States Constitution.

10. Concurrent with the filing and service of this Notice of Removal, Defendant has
served a Notice to State Court of Removal upon Plaintiff, and has filed the same with the Clerk

of the Fairfax County Circuit Court with a copy of this Notice.
WHEREFORE, Defendant files this Notice of Removal so that the entire state-court

action under Cause No. 2011-01425 now pending in the Fairfax County Circuit Court is removed

to this Court for all further proceedings.

Respectfully submitted,

To B. Flood, VA Bar No. 79813

Ogletree, Deakins, Nash,
Smoak & Stewart, P.C.
2400 N Street, N.W., Fifth Floor
Washington, D.C. 20037
Tel: (202) 887-0855
Fax: (202) 887-0866
Email: john.flood@odnss.com

Attorney for Defendant

Dated: March 23, 2011
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

 

ALEXANDRIA DIVISION
Greg Stanton,
Plaintiff,
V. Civil Action No:
Huawei Technologies, Co., Ltd.,
Defendant. )

 

CERTIFICATE OF SERVICE

I hereby certify that on this 23" day of March, 2011, I caused a true and correct copy of
the above and foregoing Defendant’s Notice of Removal to be served via first class U.S. Mail, on
the following individual:

Nicholas H. Hantzes, Esq.
Jessica B. Bunce, Esq.
HANTZES & ASSOCIATES
1749 Old Meadow Road, Suite 308
McLean, VA 22102
Tel: (703) 378-5000
Fax: (703) 448-4434

Attorney for Plaintiff

A VA Bar No. 79813

Ogletree, Deakins, Nash,
Smoak & Stewart, P.C.
2400 N Street, N.W., Fifth Floor
Washington, D.C. 20037
Tel: (202) 887-0855
Fax: (202) 887-0866
Email: john.flood@odnss.com

 

Attorney for Defendant
